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 Case No.        CR 17-00697 SJO                                                                  Date       May 14, 2019


 Present: The Honorable        S. James Otero

 Interpreter      Not Required

            Victor Paul Cruz                                 Not Present                                  Not Present
               Deputy Clerk                     Court Reporter/Recorder, Tape No.                    Assistant U.S. Attorney



               U.S.A. v. Defendant(s):                Present Cust. Bond            Attorneys for Defendants:        Present App. Ret.

Daniel Flint                                            xx       xx             Georgina Wakefield                      xx     xx


PROCEEDINGS (in chambers): ORDER DENYING DEFENDANT'S MOTION FOR JUDGMENT OF
ACQUITTAL [Docket No. 140]

This matter is before the Court on Defendant Daniel Flint's ("Defendant") Motion for Judgment of Acquittal, filed
on March 4, 2019 ("Motion"). Plaintiff United States of America (the "Government") opposed the Motion on
March 26, 2018 ("Opposition"). The Court found this matter suitable for disposition without oral argument and
vacated the hearing set for April 29, 2019. See Fed. R. Civ. P. 78(b). For the following reasons, Defendant's
Motion for Judgment of Acquittal is DENIED.

I.      FACTUAL AND PROCEDURAL BACKGROUND

        A.         Factual Background

On July 20, 2017 Defendant presented himself as a diplomat with the International Human Rights Commission
("IHRC") to a Transportation Security Administration ("TSA") official at Chicago O'Hare International Airport
("O'Hare"). (Mot. 2, ECF No. 140.) Defendant, intending to board a flight to Los Angeles International Airport
("LAX"), insisted his carry-on luggage was exempt from screening under the "Laws of the Geneva Convention"
and presented an IHRC "Diplomatic Identification Card." (Mot. 2-3.) TSA officials at O'Hare told Defendant that
his credentials were insufficient to pass through security and that he was required to present a valid diplomatic
passport in order to be exempt from screening. (Opp'n. 6-7, ECF No. 147; Mot. 3.) After TSA informed Defendant
that his documents were insufficient to exempt his baggage from inspection, he declined to submit his baggage to
screening and did not board a flight. (Compl. ¶ 9, ECF No. 1.)

Later that same day, Defendant cancelled his flight out of O'Hare and booked a new flight from Chicago Midway
International Airport ("Midway") to LAX for that same afternoon. (Mot. 3.) This flight included a connecting
flight at Minneapolis-St. Paul International Airport ("MSP") before making its final arrival to LAX. (Mot. 3.)
Defendant again presented himself as an IHRC diplomat to TSA at Midway. (Opp'n. 8-9.) Midway TSA officials
permitted Defendant to travel without submitting his baggage for TSA screening. (Comp. ¶ 10.) On July 25, 2017,
Defendant again presented himself as a diplomat with the IHRC to Midway's TSA for a flight to MSP, with a later
connecting flight to LAX. (Mot. 4.) TSA officials accepted Defendant's representation, and he was allowed to
travel without submitting his baggage for TSA security screening. (Mot. 4-5.) TSA officials at Midway
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subsequently discovered that Defendant had not provided the correct credentials to be exempt from screening.
(Opp'n. 10-11.) While Defendant was en route to LAX, TSA officials reported the incident to FBI and law
enforcement officials. (Mot. 4-5; Compl. ¶ 11.)

FBI agents and other law enforcement officers arrived at Defendant's boarding gate approximately 15-20 minutes
before his flight landed at LAX. (Mot. 5; Opp'n. 11.) Once the plane arrived at the terminal, an air marshal and
another law enforcement officer boarded the plane to escort Defendant off the flight. (Mot. 5; Opp'n. 11.)
Defendant cooperated with authorities and was observed "walking on his own accord" and "not fighting anyone."
(Opp'n. 11; Reporter's Transcript of Trial Proceedings Day 2 ("RT2") 378, ECF No.118.) After the authorities
escorted Defendant to an interview room inside of LAX, the FBI conducted an interview with him for
approximately two hours. (Mot. 6.) Defendant was cooperative throughout the interview and continued to assert
that he was a bonafide diplomat. (Mot. 6; Opp'n. 11-12.) Defendant presented the same credentials and documents
to the interviewing agents and falsely told agents that he had never been turned away from a screening checkpoint
while attempting to travel with his diplomatic pouch. (Mot. 6-7; Opp'n. 12-13.)

The agents ultimately conducted a search of Defendant's bag and discovered approximately $148,145 in U.S.
currency stuffed inside plastic shopping bags. (Compl. ¶ 14.) Agents from the United States Department of State
later confirmed that Defendant has no diplomatic status with the Department's Office of Foreign Missions ("OFM")
and that the alleged ambassador Defendant claimed to be working for was not a recognized ambassador for any
organization. (Comp. ¶ 17.)

       B.      Procedural Background

               1.      Defendant's Jury Trial

On November 7, 2017, Flint was indicted on one count for entering an airport area in violation of security
requirements under 49 U.S.C. §§ 46314(a), (b)(2). (See generally Indictment, ECF No. 15.)

Defendant Flint's three-day jury trial began on October 16, 2018. (See generally Reporter's Transcript of Trial
Proceedings Trial Day 1 ("RT1"), ECF No. 117.) On October 17, 2018, following the close of the government's
case-in-chief, Defendant orally moved for a judgment of acquittal under Rule 29 of the Federal Rules of Civil
Procedure. (See RT2 400-01.)

In his motion, Defendant argued that: (1) venue was improper; (2) the government failed to establish that he
voluntarily entered Terminal 3 at LAX; (3) the government failed to prove that he violated LAX's security
requirements; (4) the security requirements at issue are "secret" and cannot form the basis of a conviction; and (5)
the government failed to present evidence regarding whether his bag was screened during his layover at MSP. (See
RT2 400-03.) Plaintiff filed a written opposition to Defendant's oral motion on October 18, 2018. (See ECF No.
107.) The Court subsequently denied Defendant's pre-verdict motion for a judgment of acquittal on October 18,
2019. (See Reporter's Transcript of Trial Proceedings Trial Day 3 ("RT3") 495, ECF No. 119.)

The Court delivered the following jury instructions as to the elements that the government must prove beyond a
reasonable doubt to sustain a conviction under 49 U.S.C. §§ 46314(a), (b)(2):

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         (1)      the defendant entered an airport area that serves as an air carrier, namely, the sterile area of
                  Terminal 3 at Los Angeles International Airport;

         (2)      the defendant did so in violation of security requirements and regulations prescribed under
                  sections 44901, 44903(c) of Title 49 of the United States Code1; and

         (3)      the defendant acted knowingly and willfully; and

         (4)      the defendant also acted with the intent to evade the security regulation.

(See Jury Instruction No. 14, ECF No. 131; RT3 445-48.)

The jury was instructed that the term "sterile area" is defined as meaning a "portion of an airport where passengers
have access to boarding aircraft and to which the access generally is controlled by the Transportation Security
Administration; an aircraft operator through the screening of persons and property." (See Jury Instruction No. 13.)
For a diplomatic pouch to be exempt from security screening at TSA, the diplomatic courier "must possess and
present to TSA a valid diplomatic passport ... a courier letter ... and a diplomatic pouch ...[.]" (Id.) "Individuals
who are not diplomatic couriers and who do not possess valid diplomatic documentation must submit their items
for screening and inspection before entering the sterile area of an airport." (RT3 at 447.)



On October 19, 2018, the jury found Defendant Daniel Flint guilty of intentionally evading airport security
requirements, in violation of 49 U.S.C. §§ 46314(a), (b)(2). (See generally Reporter's Transcript of Trial
Proceedings Trial Day 4 ("RT4"), ECF No. 120.)


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  The jury was also instructed that 49 U.S.C. § 44901 ("Section 44901") grants the head of the TSA (the
"Administrator") the authority to enact security requirements which "provide for the screening of all passengers and
property, including United States mail, cargo, carry-on, and checked baggage, and other articles that will be carried
aboard a passenger aircraft operated by an air carrier ... in air transportation or intrastate air transportation." 49
U.S.C. § 44901(a). Similarly, 49 U.S.C. § 44903(c) ("Section 44903(c)") states that the Administrator shall
prescribe regulations which require airport operators to "establish an air transportation security program that ... is
adequate to ensure the safety of passengers." 49 U.S.C. § 44903(c). The relevant federal airport security
regulations and requirements prescribed under these enabling statutes were stated as follows:

         The federal regulations and security requirements prohibit any person from entering a sterile area
         of an airport or boarding an aircraft without submitting to screening and inspection of his or her
         person and accessible property; circumventing or attempting to circumvent any security system,
         measure, or procedure implemented to protect passengers and property on an aircraft; and/or
         entering a sterile area without complying with the procedures being applied to the area. (See Jury
         Instruction No. 13; RT3 445.)

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                  2.      The Instant Motion

Defendant moves for the Court to set aside the jury verdict and enter an acquittal, claiming the evidence presented
at trial is insufficient to sustain a conviction under 49 U.S.C. §§ 46314(a) and (b)(2). (See generally Mot.)
Defendant presents the following arguments:

         (1)      The charging statute, 49 U.S.C. § 46314 ("Section 46314"), only criminalizes an individual's "initial
                  entry" into a sterile area, and because his "initial entry" occurred at Midway, he cannot be convicted
                  for violating the statute at LAX;

         (2)      The Government failed to meet its evidentiary burden by not presenting evidence as to whether or
                  not Defendant was screened during his layover at MSP;

         (3)      The Government failed to present sufficient evidence to prove Defendant knowingly and willfully
                  entered a sterile area of Terminal 3 at LAX; and

         (4)      The evidence is insufficient to show Defendant violated a specific security requirement prescribed
                  under Sections 44901 or 44903(c) to sustain a conviction under Section 46314. Specifically,
                  Defendant contends that his conviction was improperly based upon a violation of "secret" TSA
                  standard operating procedures ("SOPs").

The Court addresses Defendant's arguments in turn.

II.      DISCUSSION

         A.       Legal Standard

Rule 29 provides that "the court may set aside the verdict and enter an acquittal." Fed. R. Crim. P. 29(c). Pursuant
to Rule 29(a), "the court on the defendant's motion must enter a judgment of acquittal of any offense for which the
evidence is insufficient to sustain a conviction." Fed. R. Crim. P. 29(a). "A motion for judgment of acquittal is
reviewed on a sufficiency-of-the-evidence standard." United States v. Graf, 610 F.3d 1148, 1166 (9th Cir.2010)
(quoting United States v. Stoddard, 150 F.3d 1140, 1144 (9th Cir.1998)). "First, a reviewing court must consider
the evidence presented at trial in the light most favorable to the prosecution." United States v. Nevils, 598 F.3d
1158, 1164 (9th Cir. 2010) (en banc). "Second, after viewing the evidence in the light most favorable to the
prosecution, the reviewing court must determine whether this evidence, so viewed, is adequate to allow 'any rational
trier of fact [to find] the essential elements of the crime beyond a reasonable doubt.'" Id. (quoting Jackson v.
Virginia, 443 U.S. 307, 319 (1979)) (emphasis in original).

"[A]ll reasonable inferences are to be drawn in favor of the government, and any conflicts in the evidence are to
be resolved in favor of the jury's verdict." United States v. Alvarez-Valenzuela, 231 F.3d 1198, 1201-02 (9th Cir.
2000) (citing United States v. Laykin, 886 F.2d 1534, 1539 (9th Cir. 1989)). We "respect the exclusive province
of the jury to determine the credibility of witnesses, resolve evidentiary conflicts, and draw reasonable inferences
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from proven facts, by assuming that the jury resolved all such matters in a manner which supports the verdict."
United States v. Goode, 814 F.2d 1353, 1355 (9th Cir.1987) (citations omitted). "The hurdle to overturn a jury's
conviction based on a sufficiency of the evidence challenge is high." United States v. Rocha, 598 F.3d 1144, 1153
(9th Cir. 2010).

         B.       Analysis

                  1.      The Scope of Section 46314(a) Is Not Limited To Defendant's Initial Entry Into a Sterile
                          Area at Midway

49 U.S.C. 46314(a) ("Section 46314(a)") states that "[a] person may not knowingly and willfully enter, in violation
of security requirements prescribed under section 44901, 44903(b) or (c), or 44906 of this title, an aircraft or an
airport area that serves an air carrier or foreign air carrier." 49 U.S.C. § 46314(a). In the instant case, Defendant
was convicted under Section 46314(a) for violating security requirements prescribed under Sections 44901 and
44903(c). (See Indictment; Jury Instruction No. 14.) Sections 44901 and 44903(c) are enabling statutes which,
among other things, grant the Administrator the authority to prescribe regulations that provide for the screening of
all passengers and property that will be carried aboard an aircraft. See 49 U.S.C. §§ 44901, 44903(c). Pursuant to
this authority, the TSA has promulgated "a blanket regulation barring any person from entering the so-called
'sterile-area' of an airport ... 'without complying with the systems, measures, or procedures being applied to
control access to, or presence or movement in, such area [ ].'" Elec. Privacy Info. Ctr. v. U.S. Dep't of Homeland
Sec., 653 F.3d 1, 3 (D.C. Cir. 2011) (quoting 49 C.F.R. § 1540.105(a)(2)).

Defendant argues that, although he was convicted of intentionally entering a sterile area at Terminal 3 of LAX,
"nothing in the plain language of § 46314(a) ... reflects Congress's intent to criminalize anything other than the
initial entry into a sterile area after the purported security violation." (Mot. 11) (emphasis in original). Thus,
Defendant argues that he cannot be convicted of violating Section 43614(a) for anything other than his initial entry
into a sterile area—in this case, his initial entry into a sterile area of Midway on July 20, 2017. (Id. at 10-11.) The
Government contends that, regardless of his initial entry into a sterile area at Midway, Defendant's action of
"bringing the unscreened bag into Terminal 3 of LAX" constituted a separate violation of Section 46314(a) since
"where the plane parked, the boarding ramp, and the interior of the terminal are [all] 'sterile' areas of Terminal 3
at LAX." (Opp'n. 21-22.) The Court agrees.

The Court finds nothing in the plain language of Section 46314(a) to support Defendant's interpretation. (Mot. 10-
11.) Undisputed evidence presented at trial established that the airfield, the aircraft, where the aircraft parked, the
boarding ramp, and the interior of the terminal were all "sterile" areas of Terminal 3 at LAX. (See, e.g., RT2 296-
98) ("[T]he sterile area does include the airfield and the aircraft[.] ... [W]hen you arrive at your destination airport,
the jet bridge, and the area you walk into is still sterile."). The plain language of Section 46314(a) prohibits an
individual from knowingly and willfully entering an airport area in violation of security requirements, which
include those imposed by the TSA that define certain "airport area[s]" as "sterile areas." See 49 C.F.R. §
1540.105(a)(2). Neither Section 46314(a) nor the applicable TSA regulations specify that "entry" into a sterile area
may occur only once. Instead, as Plaintiff points out, Defendant's entry into a sterile area at Midway Airport with
an unscreened bag and his subsequent entry into a sterile area at LAX with the same unscreened bag are all entries
in violation of Section 46314(a).
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In sum, the Court concludes that the plain language of Section 46314(a) prohibits all entries into sterile areas at
airports that are in violation of the prescribed security requirements, regardless of the location of the individual's
purported "initial entry." Accordingly, Defendant was properly charged under Section 46314(a) for entering a
sterile area of Terminal 3 at LAX in violation of the prescribed security requirements promulgated under Sections
44901 and 44903(c).

                  2.      The Government Satisfied Its Evidentiary Burden at Trial

Defendant argues that the Government failed to prove that Defendant's pouch had not been screened at during his
layover at MSP prior to his final arrival at LAX and as such, it cannot be said that he evaded security screening
procedures before arriving at LAX on July 25, 2017. (Mot. 11-16.) He asserts that it was "the [G]overnment's
burden to prove" that "[Defendant did not go] through screening at MSP" to show that he violated security
requirements when he entered a sterile area at LAX. (Id.) In other words, Defendant argues that because the
Government presented "no evidence whatsoever" regarding Defendant's layover at MSP following his departure
from Midway, there is "no chain of logic" which would permit the reasonable inference that Defendant entered
Terminal 3 of LAX with an unscreened bag. (Id. at 12.) The Court previously rejected this argument at Defendant's
trial, and the Court rejects this argument once again. (See RT3 493-95.)

The Government was not required to present direct evidence as to the events that occurred at MSP during
Defendant's layover in order to meet its evidentiary burden. It is well-established that the Government "does not
need to rebut all reasonable interpretations of the evidence that would establish the [D]efendant's innocence,
or 'rule out every hypothesis except that of guilt beyond a reasonable doubt[.]'" Nevils, 598 F.3d at 1164 (quoting
Jackson, 443 U.S. at 326). Instead, the Government meets it evidentiary burden at trial by presenting sufficient
evidence to prove each of the "essential elements" beyond a reasonable doubt. See id.

Applying this standard to the instant case, the Government was required to prove each of the following elements
beyond a reasonable doubt to sustain a conviction:

         (1)      Defendant entered an airport area that serves an air carrier, namely a sterile area of
                  Terminal 3 at LAX;
         (2)      Defendant did so in violation of security requirements and regulations prescribed under
                  Sections 44901 and 44903(c) of Title 49 of the United States Code;
         (3)      Defendant acted knowingly and willfully; and
         (4)      Defendant also acted with the intent to evade the security regulation.

(See Jury Instruction No. 14.)

Contrary to Defendant's contention that "no evidence whatsoever" was offered in relation to the layover at MSP,
there is ample circumstantial evidence in the trial record to support the inference that Defendant's layover at MSP
did not affect the "unscreened" nature of the bag he ultimately carried into LAX. See United States v. Dinkane, 17
F.3d 1192, 1196 (9th Cir. 1994) ("Circumstantial evidence can be used to prove any fact, although mere suspicion

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or speculation does not rise to the level of sufficient evidence.") (internal quotations and citation omitted); see U.S.
v. Yoshida, 303 F.3d 1145, 1150 (9th Cir. 2002) ("Circumstantial evidence can form the basis of a conviction.").
The evidence presented at trial established that Defendant used fraudulent diplomatic credentials to pass through
a TSA security checkpoint with an unscreened bag at Midway for the purpose of boarding a morning flight from
Midway to LAX. (Opp. 20; RT2 252-53.) While Defendant was on board his final flight to LAX, TSA officials
at Midway contacted the FBI to inform them that Defendant was carrying an "unscreened" bag on his flight. (RT2
228, 336.) Defendant subsequently landed at LAX with the bag in his possession and, based upon witness
testimony, entered certain "sterile" areas of Terminal 3. (RT2 290-98, 336-37.) The jury also heard audio excerpts
from Defendant's interview with FBI authorities following his apprehension at LAX, in which he repeatedly stated
that he was a bonafide diplomat and had never been stopped at a TSA checkpoint before. (RT2 379.) The agents
testified that Defendant's pouch was secured with a lock and unable to be opened without a key. (RT2 340-41.)
During the interview, the agents allowed Defendant to call the purported ambassador for whom he claimed to work
for on the phone to "provide authorization" for the bag to be searched before he retrieved the key. (RT2 375-76.)

On balance, the Court finds that circumstantial evidence was sufficient to permit the jury to reasonably infer that
Defendant arrived at LAX with an unscreened bag. Viewing the trial record as a whole in the light "most favorable
to the government," the Court finds that the jury "drew reasonable inferences from proven facts... in a manner
which supports the verdict." U.S. v. Ramos, 558 F.2d 545, 546 (9th Cir. 1977).

Thus, Defendant's arguments disputing the evidence presented regarding the layover at MSP fail to justify acquittal.

                  3.      The Evidence Is Sufficient To Prove Defendant Willfully And Knowingly Entered a Sterile
                          Area of Terminal 3 at LAX In Violation of Section 43614(a)

Defendant reasserts many of the same arguments this Court previously rejected in its denial of his pre-verdict
motion. (Mot. 15-17; RT2 403.) In the instant Motion, Defendant argues that there was insufficient evidence to
prove he knowingly and willfully entered a sterile area of Terminal 3 at LAX. (Mot. 15-17.)

Specifically, Defendant contends that his entry into a sterile area at LAX was not "voluntary" because the law
enforcement officials who escorted him off the plane "controlled his movements." (Mot. 15-16.) Second, he argues
that there was insufficient evidence to show he "knowingly" entered a sterile area of Terminal 3 because he was
not adequately informed that the area he was entering was considered "sterile." (Mot. 16-17.) The Court addresses
Defendant's knowledge and willfulness in turn.




                          a.      Defendant Knowingly Entered a Sterile Area of Terminal 3 at LAX

Defendant further argues that, even if the evidence was sufficient to show that he voluntarily entered a sterile area
of Terminal 3, the government still failed to prove he did so knowingly. (Mot. 16; see Jury Instruction No. 14, ECF

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No. 131.) Defendant argues that the Government "did not present any evidence that signs or anything else informed
Flint that he was entering a sterile area when he exited the plane into Terminal 3." (Mot. 17.) The Court disagrees.

First, a violation of Section 46314 does not require that signs inform a defendant of sterile areas in an airport in
order to show they "knowingly" entered. In fact, Section 46314(c)(2) explicitly states that the absence of posted
signs near a sterile area does not preclude conviction: "An individual shall be subject to a penalty imposed under
... [Section 46314(b)] without regard to whether signs are displayed at an airport as required by paragraph (1)." See
49 U.S.C.A. § 46314(c)(2). Moreover, nowhere does the statute include a requirement that any other type of display
or TSA regulation affirmatively inform a defendant as to the location of sterile areas. (Id.) Instead, the relevant
inquiry considers whether there was sufficient evidence proving beyond a reasonable doubt that Defendant was
aware that he was entering a sterile area and did not enter the area "by mistake, ignorance, or accident," without
regard to whether he was explicitly "informed" as to whether the areas were sterile.2 (See Jury Instruction No. 14.)

Viewing the trial record as a whole, the Court finds the evidence sufficient to permit the jury to reasonably conclude
that Defendant did not enter a sterile area of Terminal 3 at LAX by mistake, ignorance, or accident. (See Jury
Instruction No. 14, ECF No. 131.) Defendant first attempted to pass through a TSA security checkpoint at O'Hare
with a fraudulent diplomatic identification card, courier letter, and a "diplomatic pouch." (RT1 139-48, 183.) At
O'Hare, TSA officials specifically informed Defendant that he needed a diplomatic passport in order to be exempt
from screening, and that every national TSA has the "same SOP" outlining this requirement. (RT1 143-44.)
After he was rejected from O'Hare, Defendant booked a new flight from Midway to LAX on the same afternoon.
(RT1 190-92.) Still lacking a diplomatic passport, Defendant presented the same fraudulent ID, documents, and
pouch to TSA officials at Midway, but this time was able to successfully evade screening. (RT1 192-94.) Five days
later, Defendant again passed through a TSA security checkpoint at Midway using the same fraudulent diplomatic
credentials in order to board a flight from Midway to LAX, the final events of which are at issue in this case. (See
generally RT2 242-53.) These facts indicate that Defendant had knowledge that his allegedly diplomatic pouch
was deficient, and he continued to attempt to use it and evade security anyway.

Thus, the Court rejects Defendant's argument that he did not knowingly enter a sterile area of terminal 3 at LAX.



                  b.      Defendant Willfully Entered a Sterile Area at Terminal 3 of LAX

For the purposes of this element, Defendant's entry into a sterile area of Terminal 3 was only "willful" if the
Government proves that it was voluntary or, in other words, the "product of a voluntary act." (See Jury Instruction
No. 15, ECF No. 131.); see, e.g., United States v. Kiss–Velasquez, 2010 WL 11545250, at *8 (C.D. Cal. 2010)


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  Defendant does not dispute the details of the jury instruction given as to this element during trial. The instruction
stated the following: "An act is done knowingly if the defendant is aware of the act and does not act through
ignorance, mistake, or accident. You may consider evidence of the defendant's words, acts, or omissions, along
with all the other evidence, in deciding whether the defendant acted knowingly." (Jury Instruction No. 15, ECF
No. 131.)
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(using the same language to define the intent element where a defendant's reentry into the United States from
outside the country's borders must be "knowing" and "voluntary").

At trial, Michael Duretto, the assistant federal security director for security operations at LAX, testified as to the
exact location of the "sterile areas" of Terminal 3. (See RT2 290-298.) With regard to passengers in an airplane
landing at LAX, the sterile areas of Terminal 3 include "the airfield itself where the planes taxi,"3 and "when
[passengers] deplane, the aircraft, the jet bridge, and the area [passengers] walk into[.]" (RT2 296-97.) In
sum, the Government presented undisputed evidence that Defendant voluntarily boarded a plane at Midway on July
25, 2017 with the purpose of landing at LAX, and on that same date, Defendant was on a plane that landed at the
airfield of Terminal 3 of LAX (a sterile area). (Opp. 19.) Defendant does not dispute these events, but instead
claims that officers "jumped the gun" and "controlled his movements" by requiring him to get off the plane to escort
him into the terminal. (Mot. 15-16.) However, as the Court pointed out in its denial of Defendant's pre-verdict
motion, the jury could have made the reasonable inference that Defendant entered a sterile area of Terminal 3 at
LAX while he was aboard the airplane when it landed, since the entire airfield at Terminal 3 is sterile. (See RT2
404; RT2 296-97.) Specifically, a juror could reasonably find that Defendant's entrance onto the Terminal 3 airfield
via airplane was a product of a voluntary act—his knowing and willful entry onto an airplane at Midway for the
purpose of landing at LAX. See also United States v. Londono-Villa, 930 F.2d 994, 1000 (2d. Cir.1991) ("[W]hen
a person carrying drugs voluntarily traveled on a plane that was scheduled to stop in the United States, we see no
reason why a jury may not infer that he or she knowingly or intentionally entered the United States with drugs").
Further, the jury also heard testimony from a witness inside the gate area who "observed [Defendant] walking off
the aircraft [ ] ... walking on his own accord. No one was forcing him, and he was not fighting anyone." (See RT2
378, 386.)

On balance, viewing the evidence in the light most favorable to the Government, the Court finds sufficient evidence
to support a finding that the airplane's initial landing onto the tarmac constituted Defendant's willful entry into a
sterile area of Terminal 3.




                       c.      Conclusion

A rational trier of fact could have found that Defendant knowingly and willfully entered a sterile area of Terminal
3. Accordingly, the Court finds that Defendant's argument fails to justify acquittal.



3
 Duretto made clear that the airfield Defendant's plane landed on was a sterile area of Terminal 3, marked in blue
on a map of Terminal 3 at LAX: "So there’s a couple different colorations on this particular map. The purple area
would constitute what we call the security checkpoint screening area. So the front part of that would be nonsterile.
That’s where passengers should get in line to proceed through the security checkpoint. And ultimately, this more
pinkish area, as well as the blue area, would be what we call sterile." (RT 296; see Ex. 45, ECF No. 140-20;
Opp'n. 18, fn 5.)
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                  4.      The Evidence Is Sufficient To Prove Defendant Intended to Evade Security Procedures In
                          Violation of Section 46314(b)(2)

Defendant similarly argues that there was insufficient evidence to support his conviction under Section 46314(b)(2)
because the government failed to prove that he violated the statute with the requisite intent to evade security
procedures. The Court disagrees.

Here, the government likewise presented substantial evidence to permit the jury to reasonably conclude that
Defendant purposely evaded security requirements at LAX in violation of Section 46314(b)(2). As established,
there was sufficient evidence to conclude that Defendant willingly and knowingly entered a sterile area of Terminal
3 at LAX. Moreover, a jury could reasonably conclude that Defendant acted with the intent to evade TSA security
requirements at LAX in light of the evidence showing that he had provided TSA fraudulent diplomatic credentials
on three separate occasions for the purpose of evading a proper screening in order to transport the contents of an
unscreened "diplomatic pouch" from Chicago to LAX. The evidence further establishes that Defendant had
repeatedly relied on these defective documents to support his purported "diplomatic status" even after he was told
the documents were deficient. (See Opp. 24.)

On balance, any rational trier of fact could have reasonably concluded that Defendant intentionally violated security
requirements at LAX in order to transport the contents of his bag through the airport without submitting to proper
screening. Thus, the evidence presented at trial is sufficient to support Defendant's conviction under Section
43614(b)(2).

                  5.      The Evidence Is Sufficient To Prove Defendant's Entry Was In Violation of Prescribed
                          Security Requirements Under Section 46314(a)

Defendant makes several arguments to support his claim that there was insufficient evidence to prove he "violated
a particular regulation covered by the charging statute." (See generally Mot. 17-22.) The Court addresses
Defendant's arguments in turn.

                          a.      TSA Security Requirements are Within the Scope of Section 46314

First, Defendant claims that the government failed to show that any security requirements he purportedly violated
were "prescribed under" Sections 44901 or 44903(c) or were "within the scope" of violations actionable under
Section 46314. (Mot. 18-19.) The Court disagrees.

The statute under which Defendant was convicted provides: "[a] person may not knowingly and willfully enter, in
violation of security requirements prescribed under section 44901, 44903(b) or (c), or 44906 of this title, an
aircraft or an airport area that serves an air carrier or foreign air carrier." 49 U.S.C. § 46314(a). As required by
statute, the head of the TSA, referred to as "the Administrator," is "responsible for day-to-day Federal security
screening operations for passenger air transportation and intrastate air transportation under sections 44901 and
44935 [ ]." 49 U.S.C. §§ 114(b)(1) & (e)(1). Under Section 44901(a), the [Administrator] shall "provide for
the screening of all passengers and property ... that will be carried aboard a passenger aircraft...." 49 U.S.C.
§ 44901(a). Pursuant to this authority, the TSA has created and implemented numerous regulations which, at a
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minimum, forbid passengers from entering a sterile area or airplane without submitting to the screening of his or
her person and accessible property. See Elec. Privacy Info. Ctr., 653 F.3d at 3 ("[TSA] has promulgated a blanket
regulation barring any person from entering the so-called 'sterile area' of an airport[ ] ... 'without complying with
the systems, measures, or procedures being applied to control access to, or presence or movement in, such area[ ].'”)
(quoting 49 C.F.R. § 1540.105(a)(2)). See 49 C.F.R. § 1540.107(a) ("No individual may enter a sterile area or board
an aircraft without submitting to the screening and inspection of his or her person and accessible property in
accordance with the procedures being applied to control access to that area or aircraft...); 49 C.F.R. § 1540.105(a)(1)
(provides that "no person may ... interfere with ... [or] attempt to circumvent ... any security system, measure, or
procedure implemented under this subchapter."); 49 C.F.R. § 1540.105(a)(2) (prohibits any person from being
"present within a secure area ... or sterile area without complying with the systems, measures, or procedures being
applied to control access to, or presence or movement in, such areas").4

In sum, a plain reading of Section 46314(a) indicates that an entry in violation of the regulations outlined above,
which are created and implemented by the TSA pursuant to its authority granted under Section 44901(a), would
constitute a "violation of security requirements prescribed under section 44901 ... of this title." 49 U.S.C. §
46314(a). Thus, Defendant's indictment and conviction were properly based upon violations of security
requirements that fall within the scope of Section 46314.

The Court now turns to the sufficiency of the evidence presented at trial to prove a violation of the prescribed
security requirements.

                            b.       The Evidence Is Sufficient to Show Defendant Violated Section 46314(a)

At trial, the Government provided evidence showing that Defendant failed to submit to any screening or inspection
of his bag pursuant to TSA security requirements because he used fraudulent diplomatic credentials to evade such
screening and subsequently entered a sterile area of Terminal 3 at LAX with an unscreened bag. (See generally
Opp'n.) At a minimum, the evidence shows that Defendant violated the "blanket regulation" prescribed by the TSA
pursuant to its authority under Section 44901(a) that bars anyone from entering the sterile area of an airport carrying
"accessible property" that has not been screened or inspected by TSA. See Elec. Privacy Info. Ctr., 653 F.3d at
3; 49 C.F.R. § 1540.107(a).

Thus, the Court concludes that any rational trier of fact could reasonably find that Defendant violated the charging
statute when he provided fraudulent diplomatic credentials to TSA officials to avoid inspection, since doing so
would not constitute a proper screening under the plain text of the TSA regulations that fall within the scope of
Section 46314. See 49 U.S.C.A. § 44901(a) ("The [head of the TSA] shall provide for the screening of all
passengers and property ... that will be carried aboard a passenger aircraft[.]"); 49 U.S.C.A. § 46314(a) ("in
violation of security requirements prescribed under section 44901...").

                            c.       The Evidence Is Sufficient to Show Defendant Violated Specific TSA Screening
                                     Procedures in Place at LAX


4
    All three of these official TSA regulations were incorporated into Jury Instruction No. 13. (See ECF No. 131.)
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Nonetheless, Defendant argues that the government still failed to show specific violations of the TSA regulations
that fall within the scope of the charging statute. To support his claim, he emphasizes the text of 49 C.F.R. §
1540.107(a), which states that individuals must submit to screening prior to entering a sterile area "in accordance
with the procedures being applied to control access to that area or aircraft under this subchapter." (Mot. 18.)
(emphasis in original). Defendant asserts that "none" of the cited TSA regulations "actually identify the procedures
or security systems in place" to control access to these sterile areas, and the government was required, and failed,
to show Defendant was not screened "in accordance with" a specific procedure. (Id. at 18-19.) The Court disagrees.

At trial, TSA officials provided testimony in which they described the specific screening measures in place at LAX,
in addition to those found in TSA's national standard operating procedures ("SOPs"). (See generally RT2 293-319.)
According to this testimony, TSA procedures in place at all national and international airports
nationwide—including LAX—mandate the following: "Anybody that's wishing to travel or enter the airport area,
the nonpublic side of the airport, is required to undergo ... [one] hundred percent screening on all persons and all
property." (See RT2 293-95.) As to the screening of diplomatic pouches, the assistant federal security director for
security operations at LAX testified that a purported "diplomatic pouch" was prohibited from entering a sterile area
without being screened via X-ray and/or subject to a property search of its contents unless the individual had
a valid diplomatic passport, pouch, courier letter, and credentials that met certain requirements. (RT2 294, 298-
301.) Further, Defendant does not dispute the overwhelming evidence showing that Defendant's diplomatic
credentials were fraudulent and failed to meet security requirements. (See Mot.)

On balance, the Court finds that the testimony provided at trial and the plain text of the prescribed regulations
constitute sufficient evidence showing that Defendant violated security requirements under Section 46314(a).

                       d.      Defendant's Conviction Was Improperly Based Upon Violations of "Secret" TSA
                               Standard Operating Procedures

Finally, Defendant argues that his conviction was impermissibly based upon violations of "secret" and
"unpublished" SOPs. (Mot. 19.) He claims that a violation of these unpublished SOPs cannot form the basis of a
conviction under Section 46314(a) because, according to Defendant, the statute mandates a conviction based upon
a "published regulation" that gives proper notice to the individual that such conduct is criminal. (Id.)

The Court rejects Defendant's claim. Contrary to his contention, both the trial record and final jury instructions
establish that Defendant's indictment and conviction were based upon the violation of security requirements that
are, and have always been, readily available to the public. (See generally Jury Instructions Nos. 13-14, ECF No.
131) (incorporating three official TSA regulations); see 49 U.S.C. § 46314(a); 49 C.F.R. § 1540.107(a); 49 C.F.R.
§ 1540.105(a)(1); 49 C.F.R. § 1540.105(a)(2). As the Court previously noted, these official regulations were
created and implemented by the TSA to restrict access to sterile areas. Thus, unscreened access to a sterile area
is actionable under Section 43614. These prescribed regulations were incorporated into the jury's final instructions,
are within the scope of Section 43614, and the evidence was sufficient to show a violation of these regulations and
support Defendant's conviction.



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Accordingly, the Court rejects the slew of arguments made by Defendant regarding the "secret" nature of the TSA's
SOPs. (Mot. 20-23.) As noted by our sister circuits, the TSA created SOPs to follow the general requirements
mandated under the statutes listed in Section 43614(a) which outline, among other things, the specific details of the
TSA's screening procedures that are applied to control access to sterile areas. See Elec. Privacy Info. Ctr., 653 F.3d
at 3 ("Congress generally has left it to the agency to prescribe the details of the screening process, which the TSA
has documented in a set of Standard Operating Procedures not available to the public."); Corbett v. Transportation
Sec. Admin., 767 F.3d 1171, 1174 (11th Cir. 2014) ("To fulfill these statutory mandates, [TSA] issues standard
operating procedures for security screening nationwide."). The procedures outlined in both the official TSA
regulations and the undisclosed SOPs are created pursuant to the Administrator's general authority granted under
Section 44091(a) to "provide for the screening of all passengers and property...that will be carried aboard a
passenger aircraft[.]" 49 U.S.C. § 44901(a).

It follows that under the plain language of both the charging statute and the applicable statutory provisions, a
violation of the sterile area screening procedures under either the official TSA regulation or the undisclosed SOPs
is actionable under Sections 43614(a) and (b)(2).

                           e.      Conclusion

In sum, the Court holds that the regulations incorporated into the jury's final instructions fall within the scope of
the "prescribed security requirements" under Section 43614(a). Viewing the trial record as a whole, the Court
further concludes that there was sufficient evidence for any rational trier of fact to find that Defendant violated these
security requirements to form the basis of a conviction under Sections 43614(a) and (b)(2).

                   6.      Conclusion as to Defendant's Motion for Judgment of Acquittal

On balance, Defendant's Motion fails to adequately show the evidence presented at trial was insufficient to support
the jury's verdict.

III.      RULING

For the foregoing reasons, the Court DENIES Defendant's Motion for Judgment of Acquittal in its entirety.

IT IS SO ORDERED.




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